Case 2:17-cv-14190-PDB-EAS ECF No. 20-4 filed 05/01/19   PageID.130   Page 1 of 7




                                                     Exhibit 1
Case 2:17-cv-14190-PDB-EAS ECF No. 20-4 filed 05/01/19            PageID.131   Page 2 of 7




                    Account History
ERC File Number:                      Report Date:   2/19/18 8:39 AM           Full Social EINIM
Account Number:
Customer:                             Database:
Received:           11/25/2013

Original Balance:
Amount Paid:
Current Balance:
Status:

Name:
Street 1:
Street 2:
City:
State:
Zip:

SSN:
Home Phone:
DOB:




                                                                         (RB) ERC 00001
Case 2:17-cv-14190-PDB-EAS ECF No. 20-4 filed 05/01/19   PageID.132   Page 3 of 7



    Date and Time   User   Action   Result   Comment

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Case 2:17-cv-14190-PDB-EAS ECF No. 20-4 filed 05/01/19               PageID.133   Page 4 of 7




       9/23/2017 17:09 LVMAN   TR   NA   I     4908: No nswer
       9/26/2017 14:35 LVMAN   TR                    No Answer

       10/7/2017 12 42 LVMAN   TR   NM   MIII4908: Machine, No Message Left


      10/13/2017 17:02 LVMAN   TR   NA          908: No Answer

      10/14/2017 18:19 LVMAN   TR   NA         4908: No Answer




      11/14/2017 18:33 LVMAN   TR   NA         4908: No Answer



      11/17/2017 14:58 LVMAN   TR   NA          908: No Answer


      11/21/2017 15:17 LVMAN   TR   NM          908: Machine. No Messa e Left




                                                                           (RB) ERC 00003
Case 2:17-cv-14190-PDB-EAS ECF No. 20-4 filed 05/01/19                      PageID.134   Page 5 of 7



      11/24/2017 12.45 I_VMAN   TR      NA     INIIIIII4908: No Answer

       11/25/2017 9:28 LVMAN    TR      NM            4908: Machine, No Message Left


      11/28/2017 13,47 FREEMANNI 10     WN                 ii14: tpd mop wm#
      11/28/2017 13:48 freemanni RmPh   RmPh   Line4 Ph Removed:       14908




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Case 2:17-cv-14190-PDB-EAS ECF No. 20-4 filed 05/01/19                 PageID.135   Page 6 of 7



Payment Typ   Total   Principal   Interest   Collection Costs   Date




                                                                          (RB) ERG 00005
 Case 2:17-cv-14190-PDB-EAS ECF No. 20-4 filed 05/01/19   PageID.136   Page 7 of 7



DateProcesse   code   Description   Columnl




                                                             (RB) ERC 00006
